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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                                WESTERN DIVISION


CARL AND JANICE HILL,                                     5:14-CV-05037-KES

                    Plaintiffs,

      vs.                                             JUDGMENT OF DISMISSAL

AUTO-OWNERS INS. CO.,

                    Defendant.



      Pursuant to the parties’ stipulation for dismissal, it is

      ORDERED, ADJUDGED, AND DECREED that the above-entitled action is

dismissed with prejudice and without costs to any of the parties.


      Dated December 8, 2015.


                                         BY THE COURT:


                                         /s/ Karen E. Schreier
                                         KAREN E. SCHREIER
                                         UNITED STATES DISTRICT JUDGE
